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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


  JORGE APARICIO
  individually and on behalf of all
  others similarly situated,                                    CLASS ACTION

          Plaintiff,                                            JURY TRIAL DEMANDED

  v.

  LMB MORTGAGE SERVICES, INC. d/b/a
  LowerMyBills.com,

        Defendant.
  __________________________________/

                                      CLASS ACTION COMPLAINT

          Plaintiff Jorge Aparicio brings this class action against Defendant, LMB Mortgage

  Services, Inc. d/b/a LowerMyBills.com (“Defendant”) and alleges as follows upon personal

  knowledge as to himself and his own acts and experiences, and, as to all other matters, upon

  information and belief, including investigation conducted by his attorneys.

                                       NATURE OF THE ACTION

          1.      This is a putative class action under the Telephone Consumer Protection Act, 47 U.S.C.

  § 227 et seq., (“TCPA”), arising from Defendant’s knowing and willful violations of the TCPA.

          2.      Defendant markets itself as “a one-stop shop destination that offers savings through

  relationships with more than 500 service providers across multiple categories, including home

  loans, credit cards, auto and health insurance, and long-distance and wireless services.”

          3.      Defendant uses text messages as a means of marketing its business and promoting its

  services to consumers.

          4.      Defendant caused thousands of unsolicited text messages to be sent to the cellular


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  telephones of Plaintiff and Class Members, causing them injuries, including invasion of their privacy,

  aggravation, annoyance, intrusion on seclusion, trespass, and conversion.

          5.       Through this action, Plaintiff seeks injunctive relief to halt Defendants’ illegal conduct.

  Plaintiff also seeks statutory damages on behalf of himself and Class Members, as defined below, and

  any other available legal or equitable remedies resulting from the illegal actions of Defendant.

                                      JURISDICTION AND VENUE

          6.      Jurisdiction is proper under 28 U.S.C. § 1331 as Plaintiff alleges violations of a federal

  statute. Jurisdiction is also proper under 28 U.S.C. § 1332(d)(2) because Plaintiff alleges a national class,

  which will result in at least one Class member belonging to a different state than Defendant. Plaintiff

  seeks up to $1,500.00 in damages for each call in violation of the TCPA, which, when aggregated among

  a proposed class numbering in the tens of thousands, or more, exceeds the $5,000,000.00 threshold for

  federal court jurisdiction under the Class Action Fairness Act (“CAFA”).

          7.      Venue is proper in the United States District Court for the Southern District of Florida

  pursuant to 28 U.S.C. §§ 1391(b) and (c) because Defendants are deemed to reside in any judicial district

  in which it is subject to the court’s personal jurisdiction. Defendant provides and markets its services

  within this district, and therefore Defendant has sufficient contacts to subject itself to personal

  jurisdiction here. Further, on information and belief, Defendant has sent the same text message

  complained of by Plaintiff to other individuals within this judicial district, such that some of Defendant’s

  acts have occurred within this district, subjecting Defendant to jurisdiction here.

                                                  PARTIES

          8.      Plaintiff is a natural person who, at all times relevant to this action, was a resident of

  Broward County, Florida.

          9.      Defendant’s principal address is located at 12181 Bluff Creek Dr., Ste 250, Los Angeles,



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  CA 90094. Defendant directs, markets, and provides business activities throughout the State of Florida.

                                               THE TCPA

         10.      The TCPA prohibits: (1) any person from calling a cellular telephone number; (2) using

  an automatic telephone dialing system; (3) without the recipient’s prior express consent. 47 U.S.C. §

  227(b)(1)(A).

         11.      The TCPA defines an “automatic telephone dialing system” (“ATDS”) as “equipment

  that has the capacity - (A) to store or produce telephone numbers to be called, using a random or

  sequential number generator; and (B) to dial such numbers.” 47 U.S.C. § 227(a)(1).

         12.      The TCPA exists to prevent communications like the ones described within this

  Complaint. See Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744 (2012).

         13.      In an action under the TCPA, a plaintiff must show only that the defendant “called a

  number assigned to a cellular telephone service using an automatic dialing system or prerecorded

  voice.” Breslow v. Wells Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff'd, 755

  F.3d 1265 (11th Cir. 2014).

         14.      The Federal Communications Commission (“FCC”) is empowered to issue rules and

  regulations implementing the TCPA. According to the FCC’s findings, calls in violation of the TCPA

  are prohibited because, as Congress found, automated or prerecorded telephone calls are a greater

  nuisance and invasion of privacy than live solicitation calls, and such calls can be costly and

  inconvenient. The FCC also recognized that wireless customers are charged for incoming calls whether

  they pay in advance or after the minutes are used.

         15.      In 2012, the FCC issued an order further restricting automated telemarketing calls,

  requiring “prior express written consent” for such calls to wireless numbers. See In the Matter of Rules

  & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R. 1830, 1838 ¶ 20 (Feb.



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  15, 2012) (emphasis supplied).

          16.     To obtain express written consent for telemarketing calls, a defendant must establish

  that it secured the plaintiff’s signature in a form that gives the plaintiff a “‘clear and conspicuous

  disclosure’ of the consequences of providing the requested consent….and [the plaintiff] having received

  this information, agrees unambiguously to receive such calls at a telephone number the [plaintiff]

  designates.” In re Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.R.

  1830, 1837 ¶ 18, 1838 ¶ 20, 1844 ¶ 33, 1857 ¶ 66, 1858 ¶ 71 (F.C.C. Feb. 15, 2012).

          17.     The TCPA regulations promulgated by the FCC define “telemarketing” as “the

  initiation of a telephone call or message for the purpose of encouraging the purchase or rental of, or

  investment in, property, goods, or services.” 47 C.F.R. § 64.1200(f)(12). In determining whether a

  communication constitutes telemarketing, a court must evaluate the ultimate purpose of the

  communication. See Golan v. Veritas Entm't, LLC, 788 F.3d 814, 820 (8th Cir. 2015).

          18.     “Neither the TCPA nor its implementing regulations ‘require an explicit mention of a

  good, product, or service’ where the implication of an improper purpose is ‘clear from the context.’”

  Id. (citing Chesbro v. Best Buy Stores, L.P., 705 F.3d 913, 918 (9th Cir. 2012)).

          19.     “‘Telemarketing’ occurs when the context of a call indicates that it was initiated and

  transmitted to a person for the purpose of promoting property, goods, or services.” Golan, 788 F.3d at

  820 (citing 47 C.F.R. § 64.1200(a)(2)(iii) & 47 C.F.R. § 64.1200(f)(12)); In re Rules and Regulations

  Implementing the Telephone Consumer Protection Act of 1991, 18 F.C.C. Rcd at 14098 ¶ 141, 2003

  WL 21517853, at *49).

          20.     The FCC has explained that calls motivated in part by the intent to sell property, goods,

  or services are considered telemarketing under the TCPA.           See In re Rules and Regulations

  Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶¶ 139-142 (2003).



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  This is true whether call recipients are encouraged to purchase, rent, or invest in property, goods, or

  services during the call or in the future. Id.

            21.   In other words, offers “that are part of an overall marketing campaign to sell

  property, goods, or services constitute” telemarketing under the TCPA. See In re Rules and

  Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, ¶ 136

  (2003).

            22.   If a call is not deemed telemarketing, a defendant must nevertheless demonstrate that it

  obtained the plaintiff’s prior express consent. See In the Matter of Rules and Regulaions Implementing

  the Tel. Consumer Prot. Act of 1991, 30 FCC Rcd. 7961, 7991-92 (2015) (requiring express consent

  “for non-telemarketing and non-advertising calls”).

            23.   Further, the FCC has issued rulings and clarified that consumers are entitled to the same

  consent-based protections for text messages as they are for calls to wireless numbers. See Satterfield v.

  Simon & Schuster, Inc., 569 F.3d 946, 952 (9th Cir. 2009) (The FCC has determined that a text message

  falls within the meaning of “to make any call” in 47 U.S.C. § 227(b)(1)(A)); Toney v. Quality Res., Inc.,

  2014 WL 6757978, at *3 (N.D. Ill. Dec. 1, 2014) (Defendant bears the burden of showing that it

  obtained Plaintiff's prior express consent before sending him the text message). (emphasis added).

            24.   As held by the United States Court of Appeals for the Ninth Circuit: “Unsolicited

  telemarketing phone calls or text messages, by their nature, invade the privacy and disturb the solitude

  of their recipients. A plaintiff alleging a violation under the TCPA ‘need not allege any additional harm

  beyond the one Congress has identified.’” Van Patten v. Vertical Fitness Grp., No. 14-55980, 2017

  U.S. App. LEXIS 1591, at *12 (9th Cir. May 4, 2016) (quoting Spokeo, Inc. v. Robins, 136 S. Ct. 1540,

  1549 (2016) (emphasis original)).




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                                                FACTS

         25.     On or about August 15, 2018, Defendant caused the following automated text message

  to be transmitted to Plaintiff’s cellular telephone number ending in 7857 (“7857 Number”):




         26.     The above text message contains a hyperlink which leads to a website (“Website 1”).

  Website 1 asks the reader to “take this 60-second quiz to check if you qualify for HARP.” Additionally

  Website 1 asks the reader to “find out how much you may save by refinancing. It’s so easy and quick

  to put money back into your pocket!” An image of Website 1 is depicted below:




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         27.     At the bottom of Website 1, the reader is asked to press the “click here to see if you

  qualify” button. Upon doing so, another website (“Website 2”) opens and asks the reader mortgage

  related questions, such as “when do you want to purchase your new home?” and “what price range are

  you looking for a home in?” An image of Website 2 is depicted below:




  1
   https://newfreshhomes.us/Refinance-
  LP1/article/?cep=TGL71t8yKlSLjMFM3OYQNb24CWeMDaZuwzaaywV5L2rUDcWPTdSCDit90dK7aA7E
  4Xy_G0CdtbrEgXY3YicK3WuIkA21YHyioW-6RxZGn-
  Dm5OMt4jr1BduygPxM0SJFfYfufomvnybo8RehI_TF2n4RihF5Tc2hggN_lYSOpf0Q09xSFcDU5fgsOISStH
  ro#

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                                                                                                       2



          28.     Website 2 expressly states that it collects data on behalf of Defendant. A copy of the

  notification is decpited below:




          29.     Furthermore, upon pressing the “about us,” “for lenders,” “unsubscribe,” “terms of use,”

  “privacy,” “Licenses & disclosures” or “ad targeting policy” buttons as shown above, Defendant’s

  website (lowermybills.com) automatically opens:




  2
   https://theharprefisurvey.com/?req_id=112259127&s1=289fd69b-b066-424f-83a7-
  7537dc5f0f26&a=505&o=1614&cpid=9383&s2=dF96B7LLI74KAG4G1SMBG892&np=1&scbc=262

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             30.     At no point in time did Plaintiff provide Defendant with his express consent to be

   contacted with telemarketing text messages using an ATDS.

             31.     Plaintiff is the subscriber and sole user of the 7857 Number.

             32.     The impersonal and generic nature of Defendant’s text message establishes that

   Defendant utilized an ATDS to transmit the messages.

             33.     The number (929-451-1453) that transmitted the text message is operated by or on

   behalf of Defendant.

             34.     The number used by Defendant (929-451-1453) is known as a “long code” a standard

   9-digit code that enables Defendant to send SMS text messages en masse.



   3
       https://www.lowermybills.com/#about

                                                       10
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           35.     Long codes work as follows: Private companies known as SMS gateway providers have

   contractual arrangements with mobile carriers to transmit two-way SMS traffic. These SMS gateway

   providers send and receive SMS traffic to and from the mobile phone networks' SMS centers, which

   are responsible for relaying those messages to the intended mobile phone. This allows for the

   transmission of a large number of SMS messages to and from a long code.

           36.     To send the text messages, Defendant used a messaging platform that permitted

   Defendant to transmit thousands of automated text messages without any human involvement.

           37.     The platform utilized by Defendant has the capacity to store numbers using a random

   or sequential generator, and dial such numbers, and to dial numbers from a list without human

   intervention.

           38.     Defendant’s unsolicited text messages caused Plaintiff actual harm, including invasion

   privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion. Defendant’s text

   message also inconvenienced Plaintiff and caused disruption to his daily life.

                                          CLASS ALLEGATIONS

                 PROPOSED CLASS

           39.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf of

   himself and all others similarly situated.

           40.     Plaintiff brings this case on behalf of the below defined Class:

                        All persons within the United States who, within the four
                        years prior to the filing of this Complaint, were sent a text
                        message using the same type of equipment, from
                        Defendants or anyone on Defendants’ behalf, to said
                        person’s cellular telephone number, advertising
                        Defendant’s services, without the recipients’ prior express
                        written consent.

           41.     Defendant and its employees or agents are excluded from the Class. Plaintiff does not


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   know the number of members in the Class but believes the Class members number in the several

   thousands, if not more.

             NUMEROSITY

          42.      Upon information and belief, Defendant has placed automated calls to cellular telephone

   numbers belonging to thousands of consumers throughout the United States without their prior express

   consent. The members of the Class, therefore, are believed to be so numerous that joinder of all

   members is impracticable.

          43.      The exact number and identities of the Class members are unknown at this time and can

   be ascertained only through discovery. Identification of the Class members is a matter capable of

   ministerial determination from Defendants’ call records.

                COMMON QUESTIONS OF LAW AND FACT

          44.      There are numerous questions of law and fact common to the Class which predominate

   over any questions affecting only individual members of the Class. Among the questions of law and

   fact common to the Class are:

                       (1) Whether Defendant made non-emergency calls to Plaintiff and Class members’

                             cellular telephones using an ATDS;

                       (2) Whether Defendant can meet its burden of showing that it obtained prior

                             express written consent to make such calls;

                       (3) Whether Defendant’s conduct was knowing and willful;

                       (4) Whether Defendant is liable for damages, and the amount of such damages; and

                       (5) Whether Defendant should be enjoined from such conduct in the future.

          45.      The common questions in this case are capable of having common answers. If Plaintiff’s

   claim that Defendants routinely transmits text messages to telephone numbers assigned to cellular



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   telephone services is accurate, Plaintiff and the Class members will have identical claims capable of

   being efficiently adjudicated and administered in this case.

                 TYPICALITY

           46.      Plaintiff’s claims are typical of the claims of the Class members, as they are all based

   on the same factual and legal theories.

                 PROTECTING THE INTERESTS OF THE CLASS MEMBERS

           47.      Plaintiff is a representative who will fully and adequately assert and protect the interests

   of the Class and has retained competent counsel. Accordingly, Plaintiff is an adequate representative

   and will fairly and adequately protect the interests of the Class.

                 PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

           48.      A class action is superior to all other available methods for the fair and efficient

   adjudication of this lawsuit, because individual litigation of the claims of all members of the Class is

   economically unfeasible and procedurally impracticable. While the aggregate damages sustained by the

   Class are in the millions of dollars, the individual damages incurred by each member of the Class

   resulting from Defendant’s wrongful conduct are too small to warrant the expense of individual

   lawsuits. The likelihood of individual Class members prosecuting their own separate claims is remote,

   and, even if every member of the Class could afford individual litigation, the court system would be

   unduly burdened by individual litigation of such cases.

           49.      The prosecution of separate actions by members of the Class would create a risk of

   establishing inconsistent rulings and/or incompatible standards of conduct for Defendants. For

   example, one court might enjoin Defendants from performing the challenged acts, whereas another may

   not. Additionally, individual actions may be dispositive of the interests of the Class, although certain

   class members are not parties to such actions.



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                                               COUNT I
                              Violations of the TCPA, 47 U.S.C. § 227(b)
                                (On Behalf of Plaintiff and the Class)

             50.   Plaintiff re-alleges and incorporates the foregoing allegations as if fully set forth

   herein.

             51.   It is a violation of the TCPA to make “any call (other than a call made for emergency

   purposes or made with the prior express consent of the called party) using any automatic telephone

   dialing system … to any telephone number assigned to a … cellular telephone service ….” 47 U.S.C. §

   227(b)(1)(A)(iii).

             52.   Defendant – or third parties directed by Defendant – used equipment having the capacity

   to dial numbers without human intervention to make non-emergency telephone calls to the cellular

   telephones of Plaintiff and the other members of the Class defined below.

             53.   These calls were made without regard to whether or not Defendant had first obtained

   express permission from the called party to make such calls. In fact, Defendants did not have prior

   express consent to call the cell phones of Plaintiff and the other members of the putative Class when its

   calls were made.

             54.   Defendant has, therefore, violated § 227(b)(1)(A)(iii) of the TCPA by using an

   automatic telephone dialing system to make non-emergency telephone calls to the cell phones of

   Plaintiff and the other members of the putative Class without their prior express written consent.

             55.   Defendant knew that it did not have prior express consent to make these calls and knew

   or should have known that it was using equipment that at constituted an automatic telephone dialing

   system. The violations were therefore willful or knowing.

             56.   As a result of Defendant’s conduct and pursuant to § 227(b)(3) of the TCPA, Plaintiff

   and the other members of the putative Class were harmed and are each entitled to a minimum of $500.00



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   in damages for each violation. Plaintiff and the class are also entitled to an injunction against future

   calls. Id.

            57.       Because Defendant knew or should have known that Plaintiff and the other members of

   the putative Class had not given prior express consent to receive its autodialed calls to their cellular

   telephones the Court should treble the amount of statutory damages available to Plaintiff and the other

   members of the putative Class pursuant to § 227(b)(3) of the TCPA.

            WHEREFORE, Plaintiff Jorge Aparicio, on behalf of himself and the other members of

   the Class, prays for the following relief:

            a.        A declaration that Defendant’s practices described herein violate the Telephone

   Consumer Protection Act, 47 U.S.C. § 227;

            b.        A declaration that Defendant’s violations of the Telephone Consumer Protection

   Act, 47 U.S.C. § 227, were willful and knowing;

            c.        An injunction prohibiting Defendant from using an automatic telephone dialing

   system to call and text message telephone numbers assigned to cellular telephones without the

   prior express consent of the called party;

            d.        An award of actual, statutory damages, and/or trebled statutory damages; and

            e.        Such further and other relief the Court deems reasonable and just.

                                               JURY DEMAND

                Plaintiff and Class Members hereby demand a trial by jury.

                                 DOCUMENT PRESERVATION DEMAND

            Plaintiff demands that Defendant take affirmative steps to preserve all records, lists, electronic

   databases or other itemization of telephone numbers associated with Defendant and the communication

   or transmittal of the text messages as alleged herein.



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   Date: September 11 2018

                                                 Respectfully submitted,


                                                 HIRALDO P.A.

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